Case 1:18-cv-06836-DLC Document 177

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FORTESA QORROLLI,

Plaintiff,
~VVo
METROPOLITAN DENTAL ASSOCIATES, D.D.S.
225 BROADWAY, P.C., et
al.,
Defendants.

Filed 02/14/23 Pagelof4 COURT

 

EXHIBIT
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18cv6836 (DLC)
SPECIAL VERDICT
FORM
A

PLEASE CHECK (v) YOUR ANSWERS

All jurors must agree on the answers

to all of the questions:

Issue I: Liability - Hostile Work Environment

1. Did the plaintiff establish by a preponderance of the
evidence that defendant Mario Orantes subjected
Fortesa Qorrolli to a hostile work environment on
account of her sex in violation of Title VII?

YES

NO {

2. Did the plaintiff establish by a preponderance of the
evidence that defendant Mario Orantes subjected
Fortesa Qorrolli to a hostile work environment on

account of her sex in violation of

YES

[ NYSHRL?

NO

3. Did the plaintiff establish by a preponderance of the
evidence that defendant Mario Orantes subjected
Fortesa Qorrolli to a hostile work environment on
account of her sex in viclation of the NYCHRL?

YES

NO

 
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[If you answered “no” to each of these three
questions, proceed to the final page and
sign this form. If you answered “yes” to
any of these three questions, proceed to the
next question. ]

4, Did the plaintiff establish by a
preponderance of the evidence that defendant
Metropolitan Dental Associates, D.D.S5. 225
Broadway, P.C. is liable?

YES | NO

5, Did the plaintiff establish by a
preponderance of the evidence that defendant
Metropolitan Dental Associates, D.D.5., P.C.
is liable?

YES NO |

 

 

G. Did the plaintiff establish by a
preponderance of the evidence that Dr. Paul
EL. Cohen is f

YES NO
Issue II: Damages
7. Did the plaintiff establish by a preponderance of the

evidence that she is entitled to compensatory damages?

YES NO

If yes, in what amount? $§

8, If you answered “no” to question 7, did the plaintiff
establish by a preponderance of the evidence that she
is entitled to nominal damages in the amount of $1?

YES No

[Do not answer question 8 if you answered
“yves" to question 7]

11. Did the plaintiff establish by a preponderance of the
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evidence that she is entitled to recover punitive
damages from Mario Orantes under the NYCHRL?

YES NO /

 

12. Did the plaintiff establish by a preponderance of the
evidence that she is entitled to recover punitive
damages from Dr. Paul I. Cohen under the NYCHRL?

YES NO /

13. Did the plaintiff establish by a preponderance of the
evidence that she is entitled to recover punitive
damages from Metropolitan Dental Associates, D,D.5. -
225 Broadway, P.C. under the NYCHRL?

YES NO
14. Did the plaintiff establish by a preponderance of the
evidence that she is entitled to recover punitive
damages from Metropolitan Dental Associates, D.D.S.,
P.,C. under the NYCHRL?

YES NO /

 
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After completing the form, each juror who agrees with this
verdict must sign below:

Foreperson

   

   

 

 
